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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


SENIQUE A. JAMISON,

               Plaintiff,                                    Case No. 1:17-CV-559

v                                                            Hon. Gordon J. Quist

CHILDREN’S PROTECTIVE SERVICES,
et al,

            Defendants.
_____________________________________/


                                    ORDER OF RECUSAL

               In accordance with 28 U.S.C. § 455(a) and § 455(b)(1), I hereby disqualify myself

from all further proceedings in this case. The Clerk’s Office shall reassign the case to another

magistrate judge pursuant to the approved procedure.

               IT IS SO ORDERED.



Dated: June 28, 2017                          /s/ Ray Kent
                                              RAY KENT
                                              United States Magistrate Judge
